431 F.2d 244
    UNITED STATES of America, Appellee,v.Charles Lemuel HOWARD, Appellant.
    Nos. 14431, 14691.
    United States Court of Appeals, Fourth Circuit.
    Aug. 17, 1970.
    
      Terry H. Davis, Jr., Norfolk, Va., (Taylor, Gustin, Harris, Fears &amp; Davis, Norfolk, Va., on brief) for appellant.
      Roger T. Williams, Asst. U.S. Atty., for appellee.
      Before HAYNSWORTH, Chief Judge, and CRAVEN and BUTZNER, Circuit judges.
      PER CURIAM:
    
    
      1
      Charles Lemuel Howard pleaded guilty to theft of mail, in violation of 18 U.S.C. 1708.  By order of this Court, he has been allowed a belated appeal.  United States v. Howard, No. 14,030 (4th Cir.  January 6, 1970) (mem. dec.).  In No. 14,431, Howard appeals from his conviction.  In No. 14,691, Howard appeals from the denial of his motion to withdraw his guilty plea, sought pursuant to Rule 32(d), Fed.R.Crim.P.  The United States has filed a motion for summary affirmance.
    
    
      2
      Upon a careful review of the record and appellant's brief, we find no error and perceive no manifest injustice in the district court's refusal to allow withdrawal of the plea after sentencing.
    
    
      3
      Affirmed.
    
    